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1     EMILY JOHNSON HENN (SBN 269482)
2     ehenn@cov.com
      COVINGTON & BURLING LLP
3     3000 El Camino Real
4     5 Palo Alto Square, 10th Floor
      Palo Alto, CA 94306-2112
5     Telephone: + 1 (650) 632-4700
6     Facsimile: + 1 (650) 632-4800
7     SIMON J. FRANKEL (SBN 171552)
8     sfrankel@cov.com
      MATTHEW Q. VERDIN (SBN 306713)
9     mverdin@cov.com
10    JENNA L. ZHANG (SBN 336105)
      jzhang@cov.com
11    COVINGTON & BURLING LLP
12    Salesforce Tower
      415 Mission Street, Suite 5400
13    San Francisco, CA 94105-2533
14    Telephone: + 1 (415) 591-6000
      Facsimile: + 1 (415) 591-6091
15
      Attorneys for Defendants
16    Nike, Inc. and FullStory, Inc.
17
                                 UNITED STATES DISTRICT COURT
18
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
20     BURHAAN SALEH, individually and                   Civil Case No.: 2:20-cv-09581-FLA-RAO
       on behalf of all others similarly situated,
21
                                                         DEFENDANTS NIKE, INC. AND
22           Plaintiff,
                                                         FULLSTORY, INC.’S NOTICE OF
23                                                       SUPPLEMENTAL AUTHORITY
             v.
24
       NIKE, INC., and FULLSTORY, INC.,
25                                                       Honorable Fernando L. Aenlle-Rocha
26           Defendants.
27
28
                  DEFENDANTS NIKE, INC. AND FULLSTORY, INC.’S NOTICE OF SUPPLEMENTAL AUTHORITY
                                           Case No.: 2:20-cv-09581-FLA-RAO
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1           Defendants Nike, Inc. and FullStory, Inc. respectfully submit this Notice of
2     Supplemental Authority regarding their pending Motion To Dismiss (see Dkt. Nos. 30–
3     32) and Motion To Stay Discovery Pending Resolution of Defendants’ Motion To
4     Dismiss (see Dkt. Nos. 48–49, 51). Defendants bring to the Court’s attention an order
5     entered on September 9, 2021 in Goldstein v. Costco Wholesale Corp., a case before the
6     Southern District of Florida. The Costco order is attached to this notice as Exhibit A.
7
       DATED: September 20, 2021                 COVINGTON & BURLING LLP
8
9                                                By: /s/ Emily Johnson Henn
                                                    EMILY JOHNSON HENN (SBN 269482)
10                                                  ehenn@cov.com
11                                                  COVINGTON & BURLING LLP
                                                    3000 El Camino Real
12                                                  5 Palo Alto Square, 10th Floor
13                                                  Palo Alto, CA 94306-2112
                                                    Telephone: + 1 (650) 632-4700
14                                                  Facsimile: + 1 (650) 632-4800
15
                                                      SIMON J. FRANKEL (SBN 171552)
16                                                    sfrankel@cov.com
17                                                    MATTHEW Q. VERDIN (SBN 306713)
                                                      mverdin@cov.com
18                                                    JENNA L. ZHANG (SBN 336105)
19                                                    jzhang@cov.com
                                                      COVINGTON & BURLING LLP
20                                                    Salesforce Tower
21                                                    415 Mission Street, Suite 5400
                                                      San Francisco, CA 94105-2533
22
                                                      Telephone: + 1 (415) 591-6000
23                                                    Facsimile: + 1 (415) 591-6091
24
                                                      Attorneys for Defendants
25                                                    Nike, Inc. and FullStory, Inc.
26
27
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